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 1    SO. CAL. EQUAL ACCESS GROUP
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 6    Attorneys for Plaintiff
      GURI GONZALEZ
 7
 8                               UNITED STATES DISTRICT COURT
 9                              CENTRAL DISTRICT OF CALIFORNIA
10
      GURI GONZALEZ,                                    Case No.: 2:21-cv-02143 JLS (AFMx)
11
12                 Plaintiff,
                                                        NOTICE OF VOLUNTARY
13          vs.                                         DISMISSAL OF ENTIRE ACTION
                                                        WITH PREJUDICE
14
      JEFF CULVER INC.; and DOES 1
15    through 10,
16
                   Defendants.
17
18
19          PLEASE TAKE NOTICE that JONG JA KIM
20    (“Plaintiff”) pursuant to Federal Rule of Civil Procedure Rule 41(a)(1) hereby
21    voluntarily dismisses the entire action with prejudice pursuant to Federal Rule of Civil
22    Procedure Rule 41(a)(1) which provides in relevant part:
23          (a) Voluntary Dismissal.
24                 (1)    Without a Court Order. Subject to Rules 23(e), 23.1(c), 23.2, and 66
25                        and any applicable federal statute, the plaintiff may dismiss an action
26
                          without a court order by filing:
27
                          (i)     A notice of dismissal before the opposing party serves either an
28
                                  answer or a motion for summary judgment.

                                                    1
           NOTICE OF VOLUNTARY DISMISSAL OF ENTIRE ACTION WITH PREJUDICE
     Case 2:21-cv-02143-JLS-AFM Document 13 Filed 05/27/21 Page 2 of 2 Page ID #:61




 1    None of the Defendants has either answered Plaintiff’s Complaint, or filed a motion for
 2    summary judgment. Accordingly, this matter may be dismissed without an Order of the
 3    Court.
 4
 5    DATED: May 27, 2021            SO. CAL. EQUAL ACCESS GROUP
 6
 7                                   By:      /s/ Jason J. Kim
 8                                         Jason J. Kim, Esq.
                                           Attorneys for Plaintiff
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           NOTICE OF VOLUNTARY DISMISSAL OF ENTIRE ACTION WITH PREJUDICE
